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                 IN THE UNITED STATES DISTRICT COURT
            FOR THE DISTRICT OF MONTANA, BILLINGS DIVISION


DENICE D. FABRIZIUS and                                 Cause No.: 08-114-BLG-RFC
WILLIAM FABRIZIUS,                                      Honorable Richard F. Cebull

                   Plaintiffs,
         vs.
                                                         SECOND AMENDED COMPLAINT
                                                         AND DEMAND FOR JURY TRIAL
KEITH R. SHULTZ, M.D.,
YELLOWSTONE SURGERY
CENTER, DOES 1 through X, and
ROE CORPORATIONS I though X,
inclusive,

                   Defendants.


         COME NOW Plaintiffs, Denice D. and William Fabrizius (hereafter

"Denice Fabrizius" and "Bill Fabrizius"), for their Second Amended

Complaint against the Defendants and allege as follows:

         1. Plaintiff, DENICE FABRIZIUS, is and was at all times herein

mentioned, an individual residing in the State of Wyoming.



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       2. Plaintiff, BILL FABRIZIUS, is and was at all times herein

mentioned, an individual residing in the State of Wyoming.

       3. That at all times mentioned herein, Plaintiffs were informed and

believed and, therefore, allege that Defendant KEITH R. SHULTZ, M.D.

was a resident and licensed physician in Yellowstone County of Montana.

       4. That at all times mentioned herein, Plaintiffs were informed and

believed and, therefore, allege that Defendant YELLOWSTONE SURGERY

CENTER, was a licensed corporation and healthcare facility in Yellowstone

County of Montana.

       5. That at all times mentioned herein, whether individual, corporate,

associate or otherwise Defendants, Does 1 - X and Roes Corporations 1 -

X are unknown to Plaintiffs, who therefore sue said Defendant by such

fictitious names and will ask to amend this Complaint to show their true

names and capacities when the same have been ascertained.         Plaintiffs

are informed and believe and, therefore, allege that the Defendant

designated as a DOE or ROE is negligently and/or legally responsible in

some manner for the events described herein, and negligently and/or

legally caused injury and damages to the Plaintiffs as alleged herein.




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       6. On November 10, 2004, Denise Fabrizius was seen and treated by

Keith R. Shultz, M.D. at the Yellowstone Surgery Center located in Billings,

Montana.

       7. That same day, Dr. Shultz elected to perform a C6-7 cervical

epidural steroid block on Denice for the treatment of and relief for neck pain

with the diagnosis of cervical spondylosis.

       8. Wherein Dr. Shultz placed the epidural needle for the cervical

epidural block, Denice "jumped" and verbalized to Dr. Shultz her sensation

of instantaneous and excruciating pain radiating down her entire left arm

and hand.

       9. Dr. Shultz, without first repositioning the epidural needle placement

and waiting for complete resolution of her left arm pain, proceeded to inject

a combination of radio-opaque dye, local anesthetic and steroid

medication.

       10. Within minutes, Denice was returned to the post-procedure

recovery and observation unit of the Yellowstone Surgery Center where

she advised the nursing staff of her intense left arm and hand pain.

       11. Dr. Shultz later examined Denice while she was still recovering in

the unit and discharged her back to her home in Pavilion, Wyoming.




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       12. Denise drove back to Billings, Montana the next day, November

11, 2004, for urgent evaluation in the Emergency Department at Saint

Vincent Healthcare for Denice's complaints of persisting, increasing and

intense pain of her left arm and hand.

       13. Subsequent to performing the epidural block, Dr. Shultz

completed a medical narrative detailing the procedure. Later, Dr. Shultz

fraudulently altered and changed this narrative to conceal the material fact

of Denice's increasing and continuing complaints of pain and paresthesia

during the epidural procedure to reflect an improved status.

       14. Yellowstone Surgery Center was responsible for all transcription

of medical chart notes as well as the preservation and safekeeping of those

patient records, including Denice's November 10, 2004 note authored by

Dr. Shultz.

       15. Dr. Shultz has not seen nor treated Denice for her continuing and

incapacitating left and, later, right arm pain.

       16. On November 27,2004, Denice was examined and treated by

Mary Neal, M.D. in Riverton, Wyoming for her complaint of intense left arm

pain, hypersensitivity and weakness.

       17. At that time Dr. Neal diagnosed Denice's pain as severe RSD

(Reflex Sympathetic Dystrophy).



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       18. Denice was later examined and treated by Alan Brewer, M.D., a

pain specialist at the University of Colorado in Denver in January of 2008.

       19. Dr. Brewer diagnosed Type II CRPS (Complex Regional Pain

Syndrome) or a subset of RSD.

                             FIRST CAUSE OF ACTION

       20. The Plaintiffs hereby incorporate the foregoing allegations herein

as though said paragraphs were fully set forth in full herein.

       21. Dr. Shultz failed to properly evaluate Denice prior to

recommending and performing the cervical epidural steroid block.

       22. Dr. Shultz failed to properly perform the cervical epidural block.

       23. Dr. Shultz failed to recognize the mal-position of the epidural

needle placement and failed to reposition the needle after being told by

Denice that she had intense radiating left arm pain.

       24. Dr. Shultz proceeded to inject Denice Fabrizius in spite of her

complaints of continued left arm pain at the time of the epidural block.

       25. By reason of these failures, Dr. Shultz directly and proximately

caused and contributed by his negligence to Denice's post-procedure

neurological injury, permanent disability and damages.




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                           SECOND CAUSE OF ACTION

       26. The Plaintiffs hereby incorporate the foregoing allegations herein

as though said paragraphs were fully set forth in full herein.

       27. Yellowstone Surgery Center, operating a state licensed

healthcare facility in the State of Montana, failed to properly monitor and

assure the clinical competence of Dr. Shultz, an anesthesiologist,

shareholder and healthcare provider.

       28. Yellowstone Surgery Center Failed to maintain accurate, timely

and complete medical records concerning the medical care provided by Dr.

Shultz to Denice.

       29. By reason of these failures, Yellowstone Surgery Center caused

and contributed through its negligence to Denice's post-procedure

neurological injury, permanent disability and damages.

                            THIRD CAUSE OF ACTION

       30. The Plaintiffs hereby incorporate the foregoing allegations herein

as though said paragraphs were fully set forth in full herein.

       31. The injury to Denice occurred without any fault of her own.

       32. The instrumentality of the injury to Denice was under the

exclusive control of Dr. Shultz at the time Denice was injured.




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         33. Denice's injury is one that does not occur in the ordinary course

of things and would not have occurred if Dr. Shultz had used proper care.

                                FOURTH CAUSE OF ACTION

         34. The Plaintiffs hereby incorporate the foregoing allegations herein

as though said paragraphs were fully set forth in full herein.

         35. That as a direct and proximate result of Defendants' negligence,

Bill Fabrizius has suffered the loss of consortium, society and comfort of

Denice in amounts all to be proven at trial.

                                  FIFTH CAUSE OF ACTION

         36. The Plaintiffs hereby incorporate the foregoing allegations herein

as though said paragraphs were fully set forth in full herein.

         37. Dr. Shultz's conduct in altering and changing Denice's medical

records amount to actual malice and fraud as defined in § 27-1-221, M.e.A.

         38. Dr. Shultz had knowledge of facts and intentionally disregarded

facts that created a high probability of injury to the plaintiff. Dr. Shultz

deliberately acted with conscious and intentional disregard as well as

indifference of the probability of injury to Denice. Dr. Shultz represented

certain facts that occurred with knowledge of their falsity and concealed

material facts for the purpose of depriving Denice of her legal rights.




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       39.     Dr. Shultz altered and changed Denice's medical records with

the purpose of changing the record of facts as they actually unfolded during

the epidural procedure to reflect a version of fact more beneficial to him

personally.

       40.     Dr. Shultz' actual fraud creates a claim separate and distinct

from Plaintiffs' negligence claims.

       41.     Dr. Shultz' actual malice and fraud subjects him to a claim for

punitive damages.

                                         PRAYER

       WHEREFORE, the Plaintiffs pray for judgment against the

Defendants and each of them, as follows:

       a. For compensatory, economic, non-economic, loss of consortium,

             permanent physical impairment, life care expenses and

          disfigurement damages, all in an amount according to proof;

       b. For punitive damages against Dr. Shultz;

       c. For post-judgment interest at the maximum legal rate;

       d. For fees and costs of suit herein; and

       e. For such other and further relief as this Court deems just and

proper.




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                                    JURY DEMAND

       COME NOW the Plaintiffs and demand a trial by jury.

       DATED this     yth   day of October, 2009.




                                             lsI David R. Paoli
                                            David R. Paoli
                                            Attorneys for Plaintiff
                                            Paoli, Latino & Kutzman, P.C.




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